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       Avadel argues that “Jazz’s corporate witness” in the antitrust action provided testimony
that contradicts Jazz’s irreparable harm argument in this case regarding Avadel being a direct
competitor of Jazz that is taking market share away from Jazz’s oxybate products. Avadel’s
argument is wrong for several reasons.

        First, Avadel fails to inform the Court (and did not provide the Court with the portions of
the transcript that show) that Mr. Ross was “Jazz’s corporate witness” only “for pricing and
[insurance] payer related matters.” Ex. 1 at 31:10-33:9, 113:11-114:8. Thus, Mr. Ross was not
“Jazz’s corporate witness” on whether Lumryz is a competitor or competitive threat to Jazz’s
business. Avadel’s suggestion otherwise is incredible given that the objections and discussion
between counsel that Avadel omitted from its letter show Avadel’s counsel repeatedly making
clear that he was asking Mr. Ross the questions “in his individual capacity.” Ex. A at 96:23-97:2,
98:14-21. Even so, Jazz’s counsel objected to the line of questioning as outside the scope of the
30(b)(6) testimony to avoid any ambiguity. See generally Ex. A at 97:12-105:3. Avadel never
challenged those objections. See id.

       Second, Avadel fails to provide the Court with proper context for Mr. Ross’s testimony
regarding Lumryz and other narcolepsy products being within the same “competitive market
basket.” See id. As Mr. Ross explained (in another portion of the transcript not submitted to the
Court by Avadel),


          Ex. 1 at 19:21-20:2 (emphasis added). Thus, as explained further below, Mr. Ross’s
testimony is irrelevant to the irreparable harm directly caused by Avadel’s infringing conduct to
Jazz’s oxybate business. And in any event, Mr. Ross made clear (in the non-bolded portion of his
testimony in Avadel’s letter) that
                Ex. A at 103:8-19; see also id. at 104:5-14. And none of Mr. Ross’s testimony
undermines Jazz’s argument regarding its position as the market leader in sleep.

         Third, Avadel invites the Court to commit reversible error when it suggests that multiple
competitors in the same market undermines Jazz’s irreparable harm argument. The Federal Circuit
has explained that, “[w]hile the existence of a two-player market may well serve as a substantial
ground for granting an injunction—e.g., because it creates an inference that an infringing sale
amounts to a lost sale for the patentee—the converse is not automatically true.” Robert Bosch Llc
v. Pylon Mfg. Corp.., 659 F.3d 1142, 1151 (Fed. Cir. 2011). The Federal Circuit has thus held that
a district court’s reliance on the “presence of additional competitors” in its finding of no irreparable
harm was “a clear error of judgment” particularly in light of evidence including “the parties’ direct
competition” and “loss in market share and access to potential customers resulting from [the
defendant’s] introduction of infringing [products].” Id. at 1150-1151. Here, Jazz has presented
unrebutted evidence—originating from both parties—showing that Avadel is directly taking
market share from Jazz’s oxybate products. See, e.g., D.I. 587 at 3-5; D.I. 610 at 3-4.2


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  Avadel also repeats its incorrect argument, which Jazz already addressed (see D.I. 610 at 4) that
Jazz’s licensing of patents—unrelated to those asserted against Avadel in this litigation—affects
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        Fourth, Avadel incorrectly argues that Jazz is taking inconsistent positions in this case and
the antitrust case. But as explained above, the fact that there are multiple competitors in the same
market does not affect Jazz’s irreparable harm argument under Federal Circuit law (which governs
patent matters). The same cannot be said for Avadel’s lack of ability to show monopoly power
under Third Circuit law (which governs antitrust matters). As the Third Circuit explained, the
monopoly power analysis requires consideration of “[t]he scope of the market.” Mylan Pharms.
Inc. v. Warner Chilcott Public Ltd., 838 F.3d 421, 435 (3d Cir. 2016) (internal quotation and
citation omitted). “To determine if two products are in the same market, [the Third Circuit] ask[s]
if they are readily substitutable for one another, an inquiry that requires [the court] to assess the
reasonable interchangeability of use between a product and its substitute.” Id. (internal quotations
omitted). As the Third Circuit has held, “[t]he scope of the market” for pharmaceuticals is not
limited to drugs with the same active ingredient—as Avadel advocates for—but instead includes
other products used to treat the same condition. See id at 435-36. Thus, although there are many
products in the scope of the market, which precludes Avadel’s ability to prove market power in
the antitrust case, those other competitors do not alter the direct, unrebutted evidence in the patent
case that Jazz is losing market share to its direct competitor Avadel due to Avadel’s infringing
conduct, which irreparably harms Jazz.

        Fifth and finally, it is Avadel, not Jazz, that is taking inconsistent positions between this
case and the antitrust case. Avadel’s position in the antitrust case is that Lumryz is an “Existential
Threat” to Jazz. C.A. No. 22-941, D.I. 14 at 22 (emphasis added). While the pleadings are too
many to call out one-by-one, Avadel cannot seriously oppose Jazz’s irreparable harm argument in
this case without implicitly admitting the baselessness of its claims in the antitrust case because
Avadel repeatedly pleads in the antitrust case that only Avadel is a direct competitor and
competitive threat to Jazz’s products. See, e.g., id. at ¶ 42 (pleading that Avadel is a “mortal
competitive threat facing Jazz’s oxybate” products); id. at ¶ 48 (“Jazz is particularly concerned
about competition from Avadel.”); id. at ¶ 73 (“The competitive threat posed by Flamel/Avadel
grew with each passing year.”); id. at ¶ 75 (“Avadel’s FT218 product posed such an acute risk to
XYREM.”); id. at ¶ 105 (“[N]either pitolisant nor any other FDA-approved non-oxybate drugs
competitively constrain Jazz in selling oxybate.”); id. at ¶ 115 (“LUMRYZ’s introduction would
have brought desperately needed competition . . . pressuring Jazz to reduce prices in order to
preserve sales . . . .”); id. at ¶ 116 (“Had Avadel been able to launch LUMRYZ, it would have
forced Jazz to reduce prices to attempt to hold onto some market share.”); id. at ¶ 143 (“Jazz fears
competition not from the sale of WPAs like pitolisant, but from other oxybate drugs, particularly
a superior, once-at-bedtime, extended-release version of the kind developed by Avadel.”).

        For these reasons, and those Jazz previously presented to the Court, Jazz’s requested
injunction should be granted, and Avadel should be directed to not further violate the Court’s order
against further briefing on that issue.




Jazz’s irreparable harm argument. To be clear, Jazz has never licensed rights to sell a generic
Xywav product, despite Avadel’s repeated attempts to convince the Court otherwise.
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                                            Respectfully,

                                            /s/ Jeremy A. Tigan

                                            Jeremy A. Tigan (#5239)

JAT/rah
Enclosure
cc:    Clerk of the Court (via hand delivery)
       All Counsel of Record (via e-mail)
